Appeal: 13-4964      Doc: 11-1          Filed: 01/08/2014      Pg: 1 of 4


                                   UNITED STATES COURT OF APPEALS
                                       FOR THE FOURTH CIRCUIT
                                         OFFICE OF THE CLERK
                                          1100 East Main Street, Suite 501
                                          Richmond, Virginia 23219-3517
                                              www.ca4.uscourts.gov
             Patricia S. Connor                                                  Telephone
                    Clerk                                                       804-916-2700


                                              January 8, 2014
                                       ___________________________

                                  TRANSCRIPT ORDER ACKNOWLEDGMENT
                                       ___________________________


        No. 13-4964,          US v. Luis Garcia
                              5:12-cr-00054-RLV-DSC-1

        This acknowledgment establishes a deadline for filing all transcript ordered from
        this court reporter, as follows:

        Court Reporter: Letha Guerra
        Current Deadline: 02/14/2014
        Proceedings: Garcia: plea hearing 02/03/2013 and initial appearance 12/20/2012
        Ordering Party(ies): Murray Kamionski, Esq.

        The above-referenced transcript has been ordered for use on appeal. Seven days
        have been added to the court reporter deadlines to permit appropriate financial
        arrangements to be completed. If the district court has not yet acted on a request for
        transcript under the Criminal Justice Act, counsel should confirm that the CJA 24
        application has been filed with the district court for approval by the judge.

        If the transcript order is deficient or the CJA 24 application is not approved within 7
        days of this acknowledgment, the court reporter must complete and file a
        Transcript Order Deficiency Notice with this court within 14 days of this
        acknowledgment. If the court reporter has grounds for an extension of time, a
        request for extension may be sought using the Transcript Extension Request
        form.




               Case 5:12-cr-00054-KDB-DSC Document 48 Filed 01/08/14 Page 1 of 4
Appeal: 13-4964   Doc: 11-1        Filed: 01/08/2014   Pg: 2 of 4


        This court is notified of the filing of the Appeal Transcript in the district court
        through the district court's CM/ECF system. If the transcript is not filed by the due
        date, a transcript sanction takes effect, as provided in the Guidelines for
        Preparation of Appellate Transcripts in the Fourth Circuit. If a transcript
        sanction is in effect, the court reporter must file a Certification of filing of
        transcript/sanctions form with this court at the time the transcript is filed with the
        district court, certifying that the appropriate sanction has been deducted from the
        transcript fee. Court forms are available for completion as links from this notice and
        at the court's web site, www.ca4.uscourts.gov.

        Cathy Tyree, Deputy Clerk
        804-916-2704




              Case 5:12-cr-00054-KDB-DSC Document 48 Filed 01/08/14 Page 2 of 4
Appeal: 13-4964   Doc: 11-1      Filed: 01/08/2014   Pg: 3 of 4


                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                       TRANSCRIPT ORDER DEFICIENCY NOTICE

        No. 13-4964,   US v. Luis Garcia
                       5:12-cr-00054-RLV-DSC-1

        To permit confirmation of financial arrangements, including approval by the
        district court of the CJA 24 form, 7 days have been added to the period
        established by the transcript guidelines for filing of appellate transcript. If
        financial arrangements are not confirmed within 7 days or if there are other
        problems with the transcript order, the court reporter should, within 14 days
        of issuance of the transcript order acknowledgment, file a transcript order
        deficiency notice with the Court of Appeals identifying the problem. Copies of
        the deficiency notice will be sent via CM/ECF to the parties and the district
        court.

        []    Transcript has previously been filed with district court. (specify)
        []    Counsel has not submitted the CJA 24 application to the district court
              clerk for approval.
        []    CJA 24 application was not approved within 7 days of issuance of
              Transcript Order Acknowledgment.
        []    Not all requests on CJA 24 application were granted by
              district court. (specify)
        []    Motion for transcript at government expense has not been granted
              (28 U.S.C. § 753(f)).
        []    Satisfactory financial arrangements have not been made. (specify)
        []    Transcript order is unclear. (specify)
        []    Other (specify):

        Relief Requested:         [ ] Rescission of filing deadline
                                  [ ] Extension of filing deadline to _______________
        Court Reporter:
        Signature:
        Date:




              Case 5:12-cr-00054-KDB-DSC Document 48 Filed 01/08/14 Page 3 of 4
Appeal: 13-4964   Doc: 11-1       Filed: 01/08/2014   Pg: 4 of 4


                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT

                              TRANSCRIPT EXTENSION REQUEST

        No. 13-4964,   US v. Luis Garcia
                       5:12-cr-00054-RLV-DSC-1

        If an extension of time is needed to complete the transcript, the court reporter
        may file a Transcript Extension Request with the Court of Appeals at least 10
        days in advance of the deadline, setting forth specific information in support of
        the request. Copies of the request shall be served on the parties to the case and
        the district court Reporter Coordinator. The granting of an extension also
        constitutes a waiver of sanctions through the date of the extension.

        Court Reporter: Letha Guerra
        Current Deadline: 02/14/2014
        Extension Requested to:

        As of this date, approximately pages have been completed and pages are
        yet to be transcribed. Justification is as follows:
           1. Outstanding District Court transcripts ordered within 90 days of this
               request: Any pending appellate transcripts will be taken into
               consideration in deciding this request.

           2. In-Court Time: (give total days/hours by month)

           3. Travel: (give hours spent traveling to and from Court by month)

           4. Other: (please provide information you would like the Court to consider
              when reviewing your request. Please be aware that this information will
              be posted on the public docket.)

        Signature:
        Date:




              Case 5:12-cr-00054-KDB-DSC Document 48 Filed 01/08/14 Page 4 of 4
